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Home >» Campaignfinance data » Candidate profiles » DE LAFUENTE, ROQUE ROCKY

DE LA FUENTE, ROQUE ROCKY

CANDIDATE FOR PRESIDENT
ID: PG6O001G342
DEMOCRATIC PARTY

Financial summary

Time period

Full cycle: 2013-2016

Data is included from these committees:

* ROCKY 2016 LLC

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CONS FONG

2015-2016

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Total raised

Browse receipts

Coverage dates: 10/01/2015 to 12/31/2016

TOTAL RECEIPTS $8,075,959,73
TOTAL CONTRIBUTIONS : $17,125.13
Total individual contributions oe - Oo ‘g1712518
itemized individual contributions a $13,156.00
Unitemized individual contributions $3,969.00

Party committee contributions $0.00
Other committee contributions $0.00
Presidential public funds $0.00
Candidate contributions $0.00
TRANSFER FROM AFFILIATED COMMITTEES $0.00
“TOTAL LOANS RECEIVED OS $8,058,834,60

Loans made by candidate $8,058,834,60

$0.00

Other loans
TOTAL OFFSETS $0.00
Offsets to operating expenditures - . - $0.00
vundreising ofeets cee et ce Se s0.00
Legal and accounting offsets $0.c0
‘ OTHER RECEIPTS $0.00

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Total spent

Browse disbursements

Coverage dates: 10/01/2015 to 12/31/2016 |

TOTAL DISBURSEMENTS $8,074,913.65
OPERATING EXPENDITURES $4,389,015.71
TRANSFERS TO AUTHORIZED COMMITTEES $0.00
FUNDRAISING a : / $3,258,915,33
EXEMPT LEGAL AND ACCOUNTING - | Oo $426,982.61
TOTAL LOAN REPAYMENTS MADE. a a - $0.00
conaitate oan repayments coe - i tte ie sooo
Other loan repayments $0.00
TOTAL CONTRIBUTION REFUNDS $0.00
Individual refunds - $0.00
voieiea vary —otanae oe So euun tees “sono
Other committee refunds $0.00
OTHER DISBURSEMENTS $0.00

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Cash summary

Coverage dates: 10/01/2015 to 12/31/2016 |

ENDING CASH ON HAND $1,046.08
NETCONTRIBUTIONS gang g.ta.
vote contributions Lo. secs pe vo sess
(Total contribution refunds) $0.00

NET OPERATING EXPENDITURES | $4,329,360.36
Operating expenditures a : $4,389,01571

Offsets to operating expenditures - pS Oo $0.00
DEBTS/LOANS OWED TO COMMITTEE $0.00 .

‘ DEBTS/LOANS OWED BY COMMITTEE $8,058,834.60

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